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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

 UNITED STATES OF AMERICA                     )
                                              )
                v.                            )       CRIMINAL NO. 4:23CR54
                                              )
 KAMANI JOHNSON                               )

                           GOVERNMENT’S SUPPLEMENTAL
                     RESPONSE TO DEFENDANT’S DISCOVERY MOTION

        The United States has complied with its discovery obligations at every stage of this matter.

 As set forth below, all discovery was timely provided, first to defendant’s appointed counsel and

 then to his stand-by counsel. The United States has further responded promptly to every discovery-

 related request of defendant’s counsel. Finally, the United States has not located a single request

 made by the defendant to the United States requesting discovery be provided directly to him.

 Indeed, the defendant’s motion to dismiss is the first time he has raised this issue—less than a

 month before trial and nearly four months after the Court clarified stand-by counsel’s role in

 facilitating discovery. His motion should be denied.

       RELEVANT PROCEDURAL HISTORY AND DISCOVERY PRODUCTIONS
        On May 15, 2024, the Court designated the case charged in the Second Superseding

 Indictment as Complex. ECF No. 542. The defendant appeared before this Court for his initial

 appearance on June 4, 2024, and was ordered temporarily detained. On June 6, 2024, the defendant

 appeared for his detention hearing and requested additional time to retain counsel, and his

 detention hearing was reset for June 14, 2024. ECF No. 587.




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         The detention hearing was held on June 14, 2024, and the defendant was detained. The

 defendant requested that he be allowed to represent himself. The Court attempted to make an

 inquiry of the defendant concerning self-representation, but the defendant refused to answer the

 Court’s questions. This failure resulted in Roger Whitus (“Mr. Whitus”) being appointed to

 represent the defendant. Speedy Trial was waived, without objection from the defendant, due to

 the complexity of the case. The trial was set for January 14, 2025. ECF No. 612.

         The United States provided discovery to Mr. Whitus on June 7, 2024, and July 17,

 2024.

         On October 7, 2024, the defendant was granted the privilege of representing himself.

 Stand-by counsel, Mr. John Paul Gregorio (“Mr. Gregorio”), was appointed to assist the defendant

 as necessary. ECF No. 769. Mr. Gregorio confirmed that Mr. Whitus provided him with the

 discovery. On November 15, 2024, Mr. Gregorio sent an email to Special Assistant United States

 Attorney Alyson Yates (“SAUSA Yates”) stating as follows:

                He has accused me of working for the prosecution; accused me
                of being negative when I attempt to review the discovery material
                or discuss facts and evidence in an attempt to educate him on how
                to defend himself; and has just plain refused to cooperate with
                me.
                He has requested that all of the discovery material be sent to
                him at the jail so that he can review it himself. Apparently, he
                does not trust me.
                Before I provided [sic] him with any actual documents, I
                wanted to check and make certain that there was no RDM or
                PO in place to prohibit such disclosure of discovery material.
                Because I am only his stand by counsel, I am not sure if me
                providing the discovery material would be sufficient. I would
                suspect that he will want it directly from your office because of
                his distrust of me thus far.



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 Gov’t Ex A at 4 (emphasis added). SAUSA Yates believes she told Mr. Gregorio in person that

 there was no protective order in place preventing him from providing the discovery to the

 defendant. The absence of a protective order is also reflected on PACER. The United States did

 not hear anything further from Mr. Gregorio nor did it receive any requests from Mr. Johnson

 related to this issue. As such, the United States again provided attorney Gregorio discovery

 on January 22, 2025.

        On January 27, 2025, Johnson filed a letter motion which expressed dissatisfaction with

 stand-by counsel. ECF No. 997. Johnson’s stand-by counsel filed a motion to withdraw on January

 31, 2025. ECF No. 1019.

        The Court issued an order on February 25, 2025, informing Johnson and his stand-by

 counsel of the various responsibilities of stand-by counsel, including “[f]acilitating discovery and

 necessary communication with the Government in the case of an incarcerated defendant like Mr.

 Johnson.” ECF No. 1041 at 4.

   The United States provided a final round of discovery to Gregorio on May 20, 2025.

         In response to the notification of the availability of the discovery and the summary of it

 provided by the agent, Gregorio responded “Thanks for the summary. Very helpful. I will pass this

 along to Mr. Johnson at our next meeting.” Gov’t Ex. B.

        On June 27, 2025, the United States arranged to have the defendant transported to the

 United States Courthouse in Norfolk, Virginia. The purpose of this was to meet with the defendant

 in his role as his own attorney. While the United States considered approaching the defendant at

 Western Tidewater Regional Jail (“WTRJ”), such a move was deemed unwise since other inmates

 might view Johnson as meeting with the United States as a sign that he was cooperating.



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         Once at the courthouse, the undersigned and two members of the investigative team met

 with Johnson in the United States Marshal’s lock-up. In this meeting, the undersigned presented

 Johnson with a written plea offer. The members of the investigative team, using a computer,

 offered to show Johnson the most significant evidence against him, i.e. his social media postings

 with drugs and guns, pictures of him from Lux Auto and calls intercepted on a T-III.

         The meeting at the courthouse was not intended to be a review of discovery. It was intended

 to impress upon the defendant the weight and nature of the evidence against him. Johnson refused

 to look at any of the evidence and declined the agents’ offer to orally describe the evidence or

 investigation. The meeting lasted less than 15 minutes.

         In response to the Court’s order of June 26, 2025, ECF No. 1346, all government files,

 paper and electronic, related to Johnson were searched. The undersigned did not locate any

 correspondence from the defendant, to include the claimed January 16, 2025, request for

 discovery.1 A search of emails from attorney Gregorio shows a total of ten emails. Of those ten,

 three relate to the substance of the matter before the Court. Gov’t Ex. C.



                                           ARGUMENT

         Beginning with defense counsel Mr. Whitus on June 7, 2024, and continuing through stand-

 by counsel Mr. Gregorio on May 20, 2025, the United States has provided all discovery in this

 case.



 1
   The United States’ file does contain 25 filings from the defendant beginning on June 24, 2024,
 all of which were filed before he raised the issue of discovery on June 13, 2025. See ECF Nos.
 638, 639, 654, 709, 718, 733, 738, 739, 790, 791, 792, 793, 911, 912, 914, 915, 925, 940, 997,
 1032, 1044, 1073, 1087, 1130, and 1254.

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        The discovery in this case is voluminous and is only available electronically, given the

 prevalence of recorded call, videos and social media accounts. Even if the United States was

 inclined to send discovery directly to the defendant, the jail would not allow him to possess

 multiple hard drives of material, nor would he have the ability to examine it. This view is informed

 by the undersigned’s experience in United States v. Jamar Green, 4:20cr1.

        In that case, defendant Green was similar to Johnson. Defendant Green represented

 himself, refused the help of stand-by counsel and would only review discovery on his terms. Chief

 Judge Davis directed stand-by counsel to work with WTRJ to facilitate Green’s review of

 discovery. This process was difficult because WTRJ does not provide defendants routine computer

 access. Defendants are also not allowed to have hard drives in their cells.

        Chief Judge Davis ordered stand-by counsel to work with WTRJ to overcome these

 obstacles and provide the defendant with the means to review the discovery. He also instructed

 stand-by counsel to provide written reports of his progress. In the end, Green did not want to review

 discovery he wanted to complain that he could not have discovery in the time and place of his

 choosing. Gov’t Exs. D-G.

        Similar to Defendant Green, email exchanges with stand-by counsel painted a picture of

 rebuffed efforts to discuss the discovery with Johnson.

        In an email dated December 23, 2024, Gregorio stated that:

                I tried to explain to him how he [sic] continuance would work and
                the advantage that he would have by getting more time to review
                and prepare. He responded by stating that the government has not
                sent him one shred of the discovery material thus far. He is not
                receive [sic] copies of any emotions [sic] or responses to motions
                thus far.
                Because I am only stand-by council [sic] and not his regular court,
                appointed counsel, he is reluctant to discuss certain matters with me.

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                He won’t discuss the case, how to defend it, a review of the
                discovery material, or anything that would appear to be able to help
                Him With [sic] preparing for a jury trial and federal court.
 Gov’t Ex. C at 3.
        This email is viewed in light of the November 15, 2024, email (Gov’t Ex. A at 4), wherein

 Mr. Gregorio indicated that the defendant requested stand-by counsel to send him the discovery.

 Mr. Gregorio then stated: “before I provided [sic] him with actual documents . . . ,” which the

 United States understood to mean that Mr. Gregorio was going to send Johnson discovery directly.2

        Consistent with this understanding, the Court entered an order on February 25, 2025,

 explicitly stating that one of the roles of stand-by counsel is to “facilitate discovery.” ECF No.

 1041 at 4. Three months after this order was entered, attorney Gregorio responded to a May 20,

 2025, discovery production with the email, “I will pass this along to Mr. Johnson at our next

 meeting.” Gov’t Ex. B at 1. This response is also consistent with the prior communications that

 Mr. Gregorio was at least attempting to provide or discuss discovery with Johnson. Based on Mr.

 Gregoria’s June 27, 2025, Notice, however, he only disclosed a small set of discovery documents

 to the defendant. ECF No. 1346 ¶ 27 (Mr. Gregorio’s Notice of Attempts to Share Discovery).

        The United States has provided all discovery in this case for over a year without complaint

 expressed by either the defendant or counsel. Despite claiming that he has “not receiv[ed]

 discovery” since the inception of this case, the defendant did not make any mention of such failure

 in any of the 25 filings he made before June 13, 2025. In addition, he did not even claim that he

 requested the United States provided him discovery directly until his reply brief. ECF No. 1344.




 2
  In fact, Mr. Gregorio did eventually send the defendant some of the discovery directly. See
 ECF No. 1346 ¶ 27 (Mr. Gregorio’s Notice of Attempts to Share Discovery).

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        The United States takes its discovery obligations seriously. As a matter of course, it

 provides defendants far more discovery than the law requires. This case was no exception. Further,

 the case agent in this case was made available to all defense counsel. Almost without exception,

 defense counsel have availed themselves of these meetings. The United States would have

 conducted a similar meeting with Johnson had he shown any interest in the facts of this case. On

 June 27, 2025, when the United States on its own initiative attempted to do a “reverse proffer” the

 defendant was completely dismissive. Likewise, the undersigned offered to answer any question

 the defendant might have about the United States’ case. This too was rejected.

        The defendant’s stand-by counsel has received all of the discovery in this case. Neither

 defense counsel’s failure to provide discovery to Johnson nor Johnson’s refusal to review

 discovery with his stand-by counsel constitute a failure on the part of the government to comply

 with its discovery obligations. See United States v. Warren, No. 4:24cr72-1, 2025 WL 1384271,

 at *1 (E.D. Va. May 13, 2025) (holding that the Government satisfied its obligation by providing

 all discovery to that defendant by way of producing it to standby counsel and that defendant should

 have met with standby counsel to review the material); see also United States v. Darwich, No. 10-

 20705, 2011 WL 2518914, at *2 (E.D. Mich. June 24, 2011) (finding that where the Government

 made every effort to provide discovery to defendant and where standby counsel had attempted to

 provide discovery to defendant, defendant’s refusal to participate in the process was

 obstructionist).




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                                        CONCLUSION
        Because the United States has met its statutory and constitutional requirements to provide

 all relevant discovery to both appointed and stand-by counsel, the defendant’s motion to dismiss

 should be denied.



                                                 Respectfully submitted,


                                                 ERIK SIEBERT
                                                 UNITED STATES ATTORNEY

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                                        Certificate of Service
        I certify that on June 27, 2025, I electronically filed the foregoing with the Clerk of Court
 using the CM/ECF system, which will send a notification of such filing to counsel of record. A
 copy of this pleading was also mailed to:


 Inmate Kamani Johnson
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 Suffolk, Virginia 23434


                                                 By:                /s/
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